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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR06-106-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   JECER BELEN,                         )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Commit Bank Fraud

16 Date of Detention Hearing:     April 18, 2006

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Defendant has been indicted for Conspiracy to Commit Bank Fraud with six co-

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 defendants. The defendants are alleged to have stolen checks from the mail, altered them, and

02 deposited or cashed the checks at various financial institutions.

03          (2)     Defendant’s criminal history includes convictions for possession of stolen property,

04 forgery, harassment and assault in the 4th degree. Defendant is currently on state court

05 supervision and in non-compliance for failing to report and to obtain an anger evaluation. There

06 is an active warrant from Pierce County and a previous warrant from Renton for failure to appear.

07          (3)     Defendant was born in the Phillippines. Defendant was not interviewed by Pretrial

08 Services. There is no additional information available regarding his personal history, residence,

09 family ties, ties to this district, income, financial assets or liabilities, physical/mental health or

10 controlled substance use, if any.

11          (4)     Defendant does not contest detention.

12          (5)     Defendant poses a risk of nonappearance because of unverified background ties,

13 a history of failing to appear, his status on state court supervision, and an active bench warrant.

14 He poses a risk of danger due to criminal history and the nature of the current charges.

15          (6)     There does not appear to be any condition or combination of conditions that will

16 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

17 to other persons or the community.

18 It is therefore ORDERED:

19          (1)     Defendant shall be detained pending trial and committed to the custody of the

20                  Attorney General for confinement in a correction facility separate, to the extent

21                  practicable, from persons awaiting or serving sentences or being held in custody

22                  pending appeal;

     DETENTION ORDER                                                                             15.13
     18 U.S.C. § 3142(i)                                                                      Rev. 1/91
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01         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

02               counsel;

03         (3)   On order of a court of the United States or on request of an attorney for the

04               Government, the person in charge of the corrections facility in which defendant is

05               confined shall deliver the defendant to a United States Marshal for the purpose of

06               an appearance in connection with a court proceeding; and

07         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

08               counsel for the defendant, to the United States Marshal, and to the United States

09               Pretrial Services Officer.

10         DATED this 18th day of April , 2006.



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12                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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